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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                 ORDER

        In light of the scheduling order entered in this case on February 6, 2019, setting a schedule for the

remaining discovery in this case (ECF No. 1121), it is hereby

        ORDERED that the government’s motion for a scheduling order filed on January 18, 2019 (ECF

No. 1115) is DENIED AS MOOT. It is further

        ORDERED that the Claimants’ motion for an extension of time for discovery filed on January 23,

2019 (ECF No. 1118) is DENIED AS MOOT.



        SO ORDERED.
                                                                    Digitally signed by
                                                                    G. Michael Harvey
                                                                    Date: 2019.04.05
Dated: April 8, 2019                                                16:05:03 -04'00'
                                                  ___________________________________
                                                  G. MICHAEL HARVEY
                                                  UNITED STATES MAGISTRATE JUDGE
